                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  TERRE HAUTE DIVISION

WESLEY I. PURKEY,                             )
                                              )
                       Plaintiff,             )
                                              )
               v.                             )       Case No. 2:19-cv-00517-JMS-DLP
                                              )
WILLIAM BARR, et al.                          )
                                              )
                       Defendants,            )
                                              )

        RESPONSE TO COURT’S ORDER DATED JULY 9, 2020 (Docket No. 71)

       The official capacity Defendants, William Barr and Michael Carvajal, respectfully

respond to the Court’s Order dated July 9, 2020 (ECF No. 71) and supplement the materials

supporting their Response In Opposition to Motion for Preliminary Injunction as follows:

         In addition to Wesley Purkey’s conviction and sentence, and the two Press Releases

cited and referred to in the Defendants’ Response Brief, the Defendants’ tender excerpts from the

deposition of Brad Weinsheimer. Mr. Weinsheimer was designated as a Rule 30(b)(6) witness in

the In re the Matter of the Federal Bureau of Prisons’ Execution Protocol Cases, Case No.

19MC0145 (District of Columbia District Court) (deposition taken January 29, 2020). In that

case, extensive discovery has occurred regarding the Execution Protocol. Mr. Weinsheimer is

the highest ranking career official within Department of Justice. He works within the Office of

the Deputy Attorney General. He was designated by the Defendants in the Execution Protocol

cases to testify regarding, among other topics, the factors considered in selecting the inmates

who would be scheduled for execution. The attached deposition testimony provides responses to

questions, under oath, from Plaintiffs’ counsel regarding the decision-making process for

selecting the inmates who would be scheduled for execution.
      Respectfully submitted,

By:   s/ Shelese Woods
      Shelese Woods
      Assistant United States Attorney
                              CERTIFICATE OF SERVICE

       I hereby certify that on July 9, 2020, the foregoing was filed electronically through

ECF/CM. On this same date, a copy of the foregoing was served electronically to all counsel of

record through the Court’s ECF/CM system.



                                                     s/ Shelese Woods
                                                     Shelese Woods
                                                     Assistant United States Attorney


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